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                     UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                    APPEARANCE OF COUNSEL FORM
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               National Education Association (“NEA”), Maryland State Education Association (“MSEA”),
  COUNSEL FOR: _______________________________________________________________________

   and Montgomery County Education Association (“MCEA”)
  __________________________________________________________________________________ as the
                                                      (party name)

      appellant(s)    appellee(s)     petitioner(s)      respondent(s) ✔ amicus curiae         intervenor(s)   movant(s)


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